OPINION — AG — ** FIREFIGHTER BENEFITS ** A FIRE FIGHTER WHO IS ASSIGNED DUTIES ANALOGOUS TO THOSE OF A PATROLMAN DURING HIS NORMAL WORKING HOURS AND SUFFERS AN INJURY OR DEATH WHILE ENGAGED IN SUCH ACTIVITIES WOULD BE ENTITLED TO THE BENEFITS OF THE FIREMEN'S RELIEF AND PENSION FUND PROVIDED THE INJURY RESULTED FROM THE CARRYING OUT OF ANY ORDER OR DIRECTION OF THE CHIEF OR ACTING CHIEF OF HIS DEPARTMENT AND THE ACTIVITY IN WHICH HE WAS ENGAGED WAS RELATED TO THE SAVING OR PRESERVING OF LIFE OR PROPERTY. CIT: 11 O.S. 1971 368 [11-368](B), 11 O.S. 1971 365 [11-365] (JAMES R. BARNETT)